                                     Case 15-12479-RAM              Doc 70         Filed 06/15/18       Page 1 of 3
                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                             www.flsb.uscourts.gov
                                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                              Original Plan
                                                                   Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                        ■   Third                                  Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Carlos Alonso                                   JOINT DEBTOR: Olga Alonso                           CASE NO.: 15-12479-RAM
SS#: xxx-xx- 9223                                         SS#: xxx-xx-4412
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                             ■   Included                Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                 Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                Included            ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $584.73              for months   1    to 37 ;

                   2.   $2,374.82            for months 38 to 38 ;

                   3.   $689.35              for months 39 to 49 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                              NONE      PRO BONO
        Total Fees:               $4950.00           Total Paid:           $2500.00            Balance Due:           $2450.00
        Payable             $52.03           /month (Months 1      to 37 )
        Payable             $525.00          /month (Months 38 to 38 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorney Fee for filing chapter 13 + $150 fees + $775 motion to value + $525 Motion to modify = 4950

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:               ■   NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
            B. VALUATION OF COLLATERAL:                     NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:              NONE
LF-31 (rev. 10/3/17)                                                     Page 1 of 3
                                        Case 15-12479-RAM                  Doc 70 Filed 06/15/18 Page 2 of 3
                                                                            Debtor(s): Carlos Alonso , Olga Alonso                   Case number: 15-12479-RAM

         1. Creditor: SunTrust Mortgage, Inc.                   Value of Collateral:                  $225,000.00                      Payment
              Address: 1001 SEMMES AVE.                         Amount of Creditor's Lien:             $44,105.19    Total paid in plan:         $0.00
                       RVW-3034
                       RICHMOND, VA. 23224
                                                                Interest Rate:         0.00%                                $0.00   /month (Months       to      )
         Last 4 Digits of Account No.:               1092
                                                                Check one below:
         Real Property
                                                                   Escrow is included in the monthly
          ■   Principal Residence                                  mortgage payment listed in this section
              Other Real Property                                  The debtor(s) will pay
         Address of Collateral:                                                taxes            insurance directly
         7864 NW 200th Terrace
         Hialeah, FL 33015-6604

                    2. VEHICLES(S):             ■   NONE
                    3. PERSONAL PROPERTY:                   ■   NONE
            C. LIEN AVOIDANCE                   ■    NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■    NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             Bank of America                0248                         8819 NW 118th Street, Hialeah Gardens FL 33018-1993
                       1.
                             Nationstar Mortgage            0289                                     8819 NW 118th Street, Hialeah Gardens FL 33018-1993
                       2.
                             Seterus                        2051                                     7864 NW 200th Terrace, Hialeah FL 33015-6604
                       3.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                               ■   NONE
            B. INTERNAL REVENUE SERVICE:                             NONE
              Total Due:                  $1,693.20             Total Payment                     $1,693.20
               Payable:                $45.76          /month (Months      1       to 37 )


            C. DOMESTIC SUPPORT OBLIGATION(S):                             ■    NONE
            D. OTHER:              ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay              $464.19          /month (Months     1       to 37 )
                       Pay        $1,612.34         /month (Months 38          to 38 )
                       Pay         $571.13          /month (Months 39          to 49 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.      ■     If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

LF-31 (rev. 10/3/17)                                                              Page 2 of 3
                                       Case 15-12479-RAM                  Doc 70 Filed 06/15/18 Page 3 of 3
                                                                           Debtor(s): Carlos Alonso , Olga Alonso           Case number: 15-12479-RAM
               C. SEPARATELY CLASSIFIED:                    ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                           NONE
                       ■   Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                           terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                           herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

               Name of Creditor                           Collateral                            Acct. No. (Last 4 Digits) Assume/Reject
               Wholesale Truck and Finance,               2010 International Prostar            0348
            1. LLC                                                                                                         ■ Assume        Reject
VII.        INCOME TAX RETURNS AND REFUNDS:                           ■   NONE
VIII.       NON-STANDARD PLAN PROVISIONS                        ■   NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                               Debtor                                                               Joint Debtor
  Carlos Alonso                                                  Date                  Olga Alonso                                          Date



  /s/ Robert Sanchez, Esq.                          June 15, 2018
    Attorney with permission to sign on                        Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




LF-31 (rev. 10/3/17)                                                         Page 3 of 3
